     Case 2:94-cr-81259-RHC ECF No. 1103, PageID.190 Filed 08/18/08 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                      Case No. 94-CR-81259-DT

DARREL HARRIS,

               Defendant.
                                                   /

 OPINION AND ORDER DENYING DEFENDANT’S “MOTION FOR MODIFICATION
           OF SENTENCE” PURSUANT TO 18 U.S.C. § 3582(c)(2)

         On March 3, 2008, Defendant Darrell Harris filed a motion to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(2). The motion is based on the passage of an

amendment to the federal Sentencing Guidelines, recently given retroactive effect, that,

according to Defendant, lowered the range applicable to the cocaine base offense for

which Defendant was convicted. The court will deny the motion.

         Defendant was convicted on three counts: conspiracy to possess cocaine with

the intent to distribute in violation of 21 U.S.C. § 846, distribution of cocaine base in

violation of 21 U.S.C. § 841(a)(1) and using the telephone in the conspiracy in violation

of 21 U.S.C. § 843(b). Defendant was sentenced to a total of 240 months in prison, the

relevant statutory minimum under 21 U.S.C. § 841(b)(1)(B)(iii). Defendant argues that

he is now eligible for a reduction in his sentencing range.

         A district court may reduce a defendant’s sentence if modification is authorized

by statute. United States v. Ross, 245 F.3d 586 (6th Cir. 2001). Under 18 U.S.C. §

3582(c)(2), a court may reduce the term of imprisonment “in the case of a defendant
  Case 2:94-cr-81259-RHC ECF No. 1103, PageID.191 Filed 08/18/08 Page 2 of 2



who has been sentenced . . . based on a sentencing range that has subsequently been

lowered by the Sentencing Commission,” provided that “such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(2).

         Having reviewed Defendant’s motion, the court must deny the motion. Because

Defendant was sentenced to the statutory minimum, it is irrelevant whether the court

may invoke its discretion to reduce his guideline range. The court simply has no

discretion to impose a sentence below the statutory minimum. See United States v.

Green, 532 F.3d 538, 546 n.8 (6th Cir. 2008) (“[T]he potential applicability of the

reduction and retroactive effect continues to depend on subjective factors (e.g., nature

and characteristics of the particular defendant and his or her crime) and specifically

cannot override any mandatory statutory minimum sentences set forth by Congress.”).

Accordingly,

         IT IS ORDERED that the Defendant’s “Motion for Modification of Sentence” [Dkt.

# 1084] is DENIED.

                                                          s/Robert H. Cleland
                                                         ROBERT H. CLELAND
                                                         UNITED STATES DISTRICT JUDGE

Dated: August 18, 2008

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 18, 2008, by electronic and/or ordinary mail.

                                                          s/Lisa Wagner
                                                         Case Manager and Deputy Clerk
                                                         (313) 234-5522




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